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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

ALISON KRATISH,                             §
     Plaintiff                              §
                                            §
       v.                                   §               Case No. 4:12-cv-02299
                                            §
ACCOUNTS RECEIVABLE                         §
MANAGEMENT, INC,                            §
    Defendant                               §

                              NOTICE OF SETTLEMENT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       NOTICE IS HEREBY GIVEN that all claims pending have been resolved to the

parties’ satisfaction.

       Plaintiff hereby respectfully requests that this Court allow sixty (60) days within

which to complete the settlement, during which time Plaintiff requests the Court to retain

jurisdiction over this matter until fully resolved.

       Should Plaintiff not move to reinstate the case or seek other Court intervention in

the next sixty (60) days, Plaintiff requests the Court dismiss this case with prejudice at

that time.

                                                      Respectfully submitted,


                                                      WEISBERG & MEYERS, LLC

                                                By: s/Noah D. Radbil
                                                    Noah D. Radbil
                                                    Texas Bar No. 24071015
                                                    Southern District Bar No. 1069583
                                                    WEISBERG AND MEYERS, LLC
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                                               Attorney-in-Charge for Plaintiff
                                               ALISON KRATISH

                           CERTIFICATE OF SERVICE

       I certify that on October 31, 2012, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Southern District of Texas, Houston Division
using the electronic case filing system of the court.

                                                            /s/ Noah D. Radbil
                                                            Noah D. Radbil
